Case 1:19-cv-10203-IT Document 181-17 Filed 10/28/22 Page 1 of 6




                EXHIBIT Q
           Case 1:19-cv-10203-IT Document 181-17 Filed 10/28/22 Page 2 of 6
                                                                   LarsonP3001628

From:              Jennifer 8. Lee
To:                Sonya Larson
Subject:           Re: Your Audiobooks Are Now Available On Audible.com
Date:              Tuesday, August 9, 2016 1:45:18 PM


Hi Sonya,

Can you please send when you have everything o= hand? This is part of a larger bunch of asks
we are going back and forth =n Audible on, so we want to keep everything as smooth as
possible.

Thanks,
Jenny

On Friday, Au=ust 5, 2016, Sonya Larson <larson=a@gmail.com> wrote:

           Oh, fantastic!! This is wonderful news, and thank you!!

           <=iv>Yes yes yes: I'll send you this stuff next week!


On Fri, Aug 5, 2016 at 1=05 PM, Jennifer 8. Lee <jenny@p=ympton.com> wrote:

       Okay. T=ey'll rerecord as a courtesy. Can you send me a NEW email with your
       tr=nscript AND the cover.
       I will forward that directly to her witho=t a coordinator.

       Jenny

       <=r>On Thursday, August 4, 2016, Sonya Larson <lars=nya@gmail.com> wrote:
       Okay-- gotcha. I REALLY hope they are okay with re-recording...if not= I'm not
       sure what to do. Let me think on it!

       On Thu, Aug 4, 2016 at 2:01 PM, Jenn=fer 8. Lee <jenny@plympton.com>
       wrot=:
        Our contact herself i= on vacation until tomorrow. So this will take some
        chasing.

           Given the off chance where they say they can't re-record.

           Would you rather keep up this version, or pull it down en=irely.

       =div data-smartmail="gmail_signature">
       ~~~
       Jennifer 8. Lee
       =o-founder, Plympton
       e: jenny@plympton.com
       =: 91=.586.0588
       t: @jenny8lee
       <=div>
 Case 1:19-cv-10203-IT Document 181-17 Filed 10/28/22 Page 3 of 6
                                                         LarsonP3001629

On Thu, Aug 4, 2016 at 10:4= AM, Sonya Larson <larsonya@gmail.com> wrote:
 Yay!! Thank yo=!!

 <> wrote:
  Just got off the phone with our best Audible contact (he =ust handles the
  metadata and the covers). He's trying to help me track=down the new right
  person.

   Jenny

   ~~~
   Jennifer 8. Lee
   Co-founder, Plympton
   e: =A0jenny@plympton.com
   c: 917.586.0588
   t: @jenny8l=e

   On Thu, Aug 4, 2016 at 10:3= AM, Sonya Larson <larsonya@gmail.com>
   wrote:
    Ah, that would=be fantastic-- thank you!!

     <=iv class="gmail_quote">On Thu, Aug 4, 2016 at 10:37 AM, Jennifer 8.
     Lee =span dir="ltr"><jenny@plympton.com> wrote:
     Not yet, as we haven't had th= right person from Audible contact us back
     (despite prodding).
     B=t I can have them pull it down in the meantime. Would that help?
     Jenny


     ~~~
     Jennifer 8. Lee
     Co-founder, Plympton
     e: =A0jenny@plympton.com
     c: 917.586.0588
     t: @jenny8l=e

     On Thu, Aug 4, 2016 at 10:32 AM, Sonya Larso= <larsonya@gmail.com>
     wrote:
     Hello, Jenny!
     I just got this notice from Audible, saying that my audiobooks=are now
     public. Have you spoken with them yet about re-recording "The=Kindest?"

     Thank you!
     Sonya


     ---------- Forwarded message ----------
     From: Audible Studios Author Care <authorcare@audible.com>
     Date: Wed, Aug 3, 2016 a= 4:01 PM
     Subject: Your Audiobooks Are Now Available On Audible.com
Case 1:19-cv-10203-IT Document 181-17 Filed 10/28/22 Page 4 of 6
                                                        LarsonP3001630

   T=: larsonya@gmail.com
   Cc: jenny@plympton.com


   De=r Sonya,

   This is an alert that the following audiobooks are now available at
   Audible=com:

   It's Better to be Lucky than Good - http://www.audible.com/pd?asin
   =B01JGQ5CRO&sou=ce_code=AUDORWS0803169HTU

   Gabe Dove - http://ww=.audible.com/pd?asin
   =B01JGQHHYA&source_code=AUDORWS08031=9HTU

   The Kindest - http://=ww.audible.com/pd?asin
   =B01JGQEQ8A&source_code=AUDORWS080=169HTU

   Your narrators' are:

   Emily Woo Zeller
   Emily Caudwell
   Eric G. Dove

   We can provide you with ten complimentary copies of each of your
   audiobooks= use one for yourself, use one for reviewers, raffle one off on
   your blog =r social media channels, or give a few to others who’ll help
   sprea= the word about your new audiobooks. Here are the codes:

   Codes for It's Better to be Lucky than Good
   1 YCHJZ2YM8WPXL
   2 JNMKAPAW2NH2N
   3 CW5BJEUJAXJDN
   4 NQBG84L3SAJ3Z
   5 YAW6M3KQ48AHZ
   6 EN6JH8CMLQSUR
   7 PPDJFNPLU8S2F
   8 PN3J5A7ZQZ4P8
   9 ETUQFWT6HNSWB
   10 JPTS3XEDSHT7W

   Promo Codes for Gabe Dove
   1 HR65ZHZNPD42E
   2 4T5HES4CCRBQY
   3 F3ARZG76G3W22
   4 WRWWWPMHSQ84N
   5 MFM44Z2DGANP4
   6 KRP3ZDWKZ95G5
   7 FU36UY8SDKG54
   8 4TT7LEKC2EB6R
Case 1:19-cv-10203-IT Document 181-17 Filed 10/28/22 Page 5 of 6
                                                        LarsonP3001631

   9 KK7PN3NKPA4G8
   10 TQ5259DATS6HQ

   Promo Codes for The Kindest
   1 K5CGGYCLZN6LA
   2 T8NBUMSJPBX9B
   3 A8JLZLP23ZJ49
   4 59WPR9XHER2AN
   5 4YBMC3RRMBD8Z
   6 33DK73FLKRHH7
   7 CU34KJXKMZ2ML
   8 SJS52UUK5QJY4
   9 QD6L7EBNSNG2H
   10 WRUHLLNQSMENQ

   You need to be registered at Audible/Amazon to redeem a code – if y=u
   aren’t, you'll be prompted to register prior to redemption =E2    but you
   do not need a paid membership plan. To distribute the pro=o codes, I
   recommend sharing the steps below in an email (don’t fo=get to replace the
   instructions in brackets in step 2 with the URL for you= audiobook’s listing
   on Audible):

   1. Go to www.audible.com .
   2. Search for my title at the top right of the page, or go str=ight to my
   audiobook’s listing
   3. Add my audiobook to your cart and click the shopping cart i=on at the
   top right hand corner of the website. (NOTE: If you’re a= Audible member
   or on a gift membership please be sure to “uncheck=E2          the box in the –
   credits applied- column so you don =99t use a credit, and then click the
   “UPDATE” button)
   4. If prompted, sign into your account or create a new Audible=account.
   5. Beneath the audiobook in your cart, you will see “D= you have a
   promotional code?” Click on this link, enter your prom= code, and click
   “Apply Code”. Please know that only one p=omo code can be applied per
   purchase.
   6. Click “Next Step” and then click “C=mplete Purchase”.

   You are a critical part of making your audiobooks successful, so be sure
   to=spread the word by sharing your links with fans, friends, family, and
   pres=. For more advice on promotion, check out our Author Tip Sheet:

   http://bit.ly/8-Simple-Ways-to-Promote-You=-Audiobook

   Congratulations on the release of your audiobooks. We wish you the
   greatest=of success and, if you have any questions or concerns, please reach
   out to=us at authorcare@audible.com .

   Sincerely,

   Samantha C
      Case 1:19-cv-10203-IT Document 181-17 Filed 10/28/22 Page 6 of 6
                                                              LarsonP3001632

          Audible Studios Author Care Team




--
~~~
Jennifer 8. Le=
Co-founder, Plympton
e: 917.586.0588
t: @jenny8lee




--
~~~
Jennifer 8. Lee
Co-fou=der, Plympton
e: jenny@plympton.com
c: 917.586.0588
t:=@jenny8lee
